 qBAO ?458
                Case
                  (Rev.2:10-cr-20057-PKH
                       09/08).ludgmcnlin a Criminal CaseDocument 173                                                 Filed 07/20/11                             Page 1 of 6 PageID #: 491
                     S h e e tI



                                                           IJhilrEnSrarns Drsrrucr CoURT
                                   WESTERN                                                          Districtof                                                      ARKANSAS
               UNITED
                    STATESOFAMERICA                                                                             JUDGMENTIN A CRIMINAL CASE
                       V.

                         JOHN BULLINGTON                                                                        CaseNumber:                                         2:I 0CR20057-002
                                                                                                                USMNumber:                                          1 0 3r 2 - 0r 0

                                                                                                                BruceD. Eddv
                                                                                                                f)efendant'sAttorney
THE DEFENDANT:
X pleaded
        guiltyto count(s) One(l) of theSuperseding
                                                Indictment
                                                        on March24,20l1

I pleaded
        nolocontendere
                     to count(s)
  whichwasaccepted
                 by thecourt.
n wasfoundguiltyon count(s)
    aftera pleaof not guilty.
'fhe
                             guilty oftheseoffenses;
       defendantis adjudicated

Title & Section                                 Na.tureqf Offense                                                                                                   0lfense Flnded                           Count

2l U.S.C,$ 8al(a)(l)and                         Conspiracy         with Intentto Distribute
                                                          to Possess                      MoreThan50                                                                  t0l2v20t0                                   I
(b)(l)(B)(viii)                                 Gramsof a Mixtureor SubstanceContaining a Detectable
                                                of Methamphetamine


                   is sentenced
      The def'endant          as providedin pages? through              of thisjudgment, The sentenceis imposedwithin the
$tatutoryrangeandthe U.S.SentencingGuidelineswereconsideredas advisory.

! The defendanthas beenfound not guilty on count(s)

X Count(s)              Threc(l) of Superscding
                                             lnclictrncnl                            X is           D are dismissed
                                                                                                                 on thernotionof theUnitedStates.
The ForfeitureAllecationwill not be nursued.
               It is ordereEthatthedefendarit                     mustnotify the UnitedStatesattorneyfor this districtwithin 30 davsof any changeof name,residence,
o r m a i l i n g a d d r e s s u nat li l f i n e s , r e s t i t u t i o n , c o s t s , h n d s paescsi aels s m e n t s i m p o s e d b y t h i s . j u d g m e n t a r e f u l lIyf op radi d
                                                                                                                                                                                                 E.r e d t o p a y r e s t i t u t i o n .
the defen-dant        must notify the coutt and United Statesaitorneyof materialchangesiir ecofiom'iccircumstant6s,

                                                                                                                .lulv20- 20 | I
                                                                                                                D a t eo f I m p o s i t i o no f J u d g m e n l




                                                                                                                HenorableRobeft 1",Dawson,Senior United StatesDistriQtJudg,e
                                                                                                                N a n r ea n d T i t l c o l ' . l u d g e



                                                                                                                Julv20.20| I
nO 245t]       Case     2:10-cr-20057-PKH
                (Rev. {)9/08).ludgmcnt
                                     in Critninal Crsc       Document 173           Filed 07/20/11       Page 2 of 6 PageID #: 492
                Shecl2 -   Irrrprisonnrent
                                                                                                                   - Pase
                                                                                                            .ludsment       2    of   6
 DEFENDANT:                         JOHNBULLINGTON
 CASENUMBER:                        2:10CR20057-002


                                                                       IMPRISONMN,NT

         The defendantis herebycommittedto the custodyof the United StatesBureauof Prisonsto be impdsonedfbr a
 total termofl      155months.




  X        Thecourtmakesthelbllowingrecommendations
                                                  to theBureauof Prisons:
           Evaluationfor RDAP and other SubstanceAbuse TreatmentProsrams.




  X        Thedefendant        to thecustodyof theUnitedStatesMarshal.
                     is remanded

  tr       Thedefendant
                     shallsurrender
                                 to theUnitedStates
                                                  Marshal
                                                        for thisdistrict:

           ! a t                                         !     a.rl.    n   p.m.    on

           n      as notitjed by the United StatesMarshal.

           "l'he
                        shallsunenderfor serviceofsentenceat the institutiondesignated
                defendant                                                            by the Bureauof Prisons:

                  befbreI p.m,on

           n      asnotiflred
                            by theUnitedStatesMarshal.

           !      asnotifiedbv theProbation
                                          or PretrialServices
                                                            Office.


                                                                            RETURN
 I haveexecutedthisjudgmentas follows:




           Defendantdeliveredon

                                                              with a certifiedcopy of thisjudgment.



                                                                                                                          L
                                                                                                         UNITEDSTATESMARSHN


                                                                                   By
                                                                                                      DLPUTYUNIl'F,:D
                                                                                                                    STA'Ib]S    I,
                                                                                                                           MARSHN
AO 2458      Case   2:10-cr-20057-PKH
              (Rev.09/08)     in a CriminalCasc Document 173
                        Judgment                                           Filed 07/20/11         Page 3 of 6 PageID #: 493
               Sheet3 * Superviscd
                                 Release
                                                                                                       Judgment-Pagc           of         6
DEFENDANI':                  JOHNBULLINGTON
C A S EN U M B E R :         2:I 0CR20057-002
                                                       SUPBRVISEDRELBASE
Upon releasefrom imprisonment,the defendantshall be on supervisedreleasefor a ternrof :             five (5) years




    The defendantmust reportto the probationoffice in the district to which the defendantis releasedwithin 72 hoursof releaseftom the
custodyofthe BureauofPrisons.
The def'endant
            shallnot commitanotherfederal.stateor localcrime.
The defendantshall not unlawfullv nossessa controlledsubstance.The defendantshall refrain frorn anv unlawful useof a controlled
substa4ce.The defendantshall submit to one drug test within l5 daysof releasefrom imprisonmentantl at leasttwo periodicdrug tests
thereafter,as determinedby the court,

tr        The abovedrug testingcondition is suspended,
                                                     basedon the court's determinationthat the defendantposesa low risk of
          future substanceabuse. (Check,if applicable,)

X         The def'endant
                      shallnot posse$s
                                     a firearm,ammunition,destructive                           weapon.(Check,if applicable.)
                                                                    device,or any otherdarrgerous

X         The defendant
                      shallcooperatein the collectionof DNA as directedby the probationofficer. (Check,if applicable.)

n         The del'endantshall registerwith the statesex offenderregistrationagencyin the statewhere the defendantresides,works, or is a
          student,as directedby the probationofficer. (Check,ifapplicable.)

n         The defendantshall participatein an approvedprogranrfor domesticviolence. (Check, if applicable.)
    If thisjudgmentimposesa fine or restitution,it is a conditionof supervised
                                                                             releasethat the del'endant
                                                                                                     pay in accordance
                                                                                                                     with the
Scheduleof Palmentsstieetof thisjudgment.

    . The defendantmustcomply with the standardconditionsthat havebeerradoptedby this court as well as with any additionalconditions
on the attachedpage,

                                       STANDARDCONDITIONSOF SUPERVISION
     r ) the def"endantshall not leavethe judicial district without the permissionof the court or probationof'ticer;
     2) the,defendant
                   shallreportto the probationofficerand shallsubmita truthfuland completewrittenreportwithin the first five daysof
           eacnmontn:
     r/    the defendantshall answertruthfully all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
     4)    the defendant
                       shallsupporthis or her dependents
                                                      and meetotherfamily responsibilities;
     5 ) the defendantshallwork regularlyat a lawful occupation,unlessexcusedby the probationofficer fbr schooling,training,or other
           acceptable
                    reasons;
     6)    lhe def'endant
                       shallnotify the probationofficer at leastten dayspriol to any changein residence
                                                                                                      or enrployment;
     7)    the defendantshallrefrainfrom excessiveuseof_alcohol and shallnot purchase,
                                                                                     possess, use,distribute,or administerany
           controlledsubstanceor any paraphernaliarelatedto any controlledsub'stances,
                                                                                    eicept as predcribedby a physician;
     8) the def-endant
                    shallnot frequentplaceswherecontrolledsubstances
                                                                   are illegallysold,used,distributed,or administered;
     e) the defendantshallnot associatewith any personsengagedin criminalactivityandshallnot associatewith any personconvictedof a
           f'elony,unlessgrantedpermissionto do so'bythe proEa"tion
                                                                 officer;
 l 0 ) the defendantshallpermita probationofficer_tovisit Iim or her at any time at horneor elsewhereand shallpermitconfiscationof any
           contrabandobservedin plain view ofthe probationofficer;
 I l)      the def'endant
                       shallnotily the probationof'ficerwithin seventy-twohoursof beingarrestedor questionedby a law enforcementofficer;
 t 2 ) the defendantshall not enter into any agreementto act as an informer or a specialagentof a law enfbrcementagencywithout the
           permission
                    of the court;and
 l 3 ) asdirectedby theprobationofficer.the defendantshallnotifv third nartiesofrisks thatmav be occasioned
                                                                                                          bv thedefendant's
                                                                                                                          criminal
           r,ecprd.orpeisona).
                           history.or charhcteristics
                                                    and shall perriritthe'probationof'flcerto frake such notificitionsand to confirm lhe
                     compllancewlilr sucnnottttcattonrequtretnent.
           delendant's
AO 2458 Case  2:10-cr-20057-PKH
         (Rev.06/05)      in a CriminalCase Document 173
                   Judgment                                          Filed 07/20/11         Page 4 of 6 PageID #: 494
         Sheet3C- Suuerviscd
                           Reloase
                                                                                                 Judgment-Page          ol' -6-
DEFENDANT:            JOHNBULL,INGTON
C A S E N U M B E R : 2;I 0CR20057-002

                                    SPECIALCONDITIONSOF SUPERVISION


l.   The defendant shallsubmithis uerson.residence.                      andvehicleto a searchconducted
                                                    nlaceoi'ernrrlovrnent.                                by the UnitedStatesProbation
     OfTiceat a reasonable                       niannerbasedup6nreasonable
                           time and'ina reasonable                              suspicionof evidenceof violationof any conditionof
     supervisedrelease.The defendantshall warn 4ny otherresident-sthat their premisdsmay be subjectto searchpursuantto this condition.
     F'ailureto submitto a searchmay be groundsfoi revocation.

     In additionto the mandatorydrug testingrequirements, the defendantshall comply with any referraldeemedappropriateby the U.S.
     ProbationOfficer for in-pafiento*rout-p"atierit
                                                  evaluation,treatment,counselingbi testingfor substance               ufinalysisfor
                                                                                                       abuse,'iircluding
     testrngpurposes,
AO 2458   Case
           ( R c v . 0 92:10-cr-20057-PKH
                       -
                                                                     l a s e Document 173
                         / 0 8 )J u t l g m e nitn a C r i n r i n u C                        Filed 07/20/11        Page 5 of 6 PageID #: 495
           Sheel5      Criminal Monetary Penalties
                                                                                                                    Judgment *   Page --l-     of       6
DEFENDANT:                              JOHNBULLINCTON
CASENUMBER:                             2:I 0CR20057-002
                                                      CRIMINAL MONETAITYPENALTIES
    The defendantmustpay the total criminalmonetarypenaltiesunderthescheduleof paymentson Sheet6.


                         Assessment                                                   Fine                                Restitutioq
TOTALS               $ r00.00                                                       $ 2,000.00                          $ -0-



!   Thedeterminationof restitution
                                 is deferred
                                           until                                        An AmendedJudgnent in a Criminal Case(AO245C) will be entered
    aftersuchdeterm
                  ination.

n   The defendantmustmakerestitution(includingcommunityrestitution)
                                                                  to the fbllowing payeesin the amountlistedbelow.

                   makesa partialpayment,eachpayeeshallreceivean approximatelv
    lf the defendant                                                           proporlionedpavmenl unlessspecifiedotherwisein
    the priorityorderor percEntage paymentcoluninbelow. However,puiduantto l8-U.S.C.$ 366afi),-allnonf'ederal
                                                                                                           Victimsmustbe paid
    befrirethe-UnitedStdtesis paid.'

Nameof Pavee                                           TotalLoss*                                Restitution
                                                                                                           Ordered                     Priqrity or Percentase




TOTALS


!    Restitutionamounlorderedpursuantto pleaagreement$

!    The def'endant lnustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in Iull beforethe
     fifteenthday afterthe dateof the.iudgment, pursuantto l8 U,S.C.$ 36t2(l), All of the paymentoptionson Sheet6 may be subject
     to penaltiesfor delinquencyand default,pursuantto l8 U"S.C.$ 3612(g),

X    The couttdetenninedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat:

     X     the interestrequirenrent
                                 is waivedfor the                       X        fine     n   restitution.

     n     the interestrequirementfor the                 !      fine       tr     restitutionis modified as fbllows;



+ Findingsf'g1tl1g1o1a.lameu^ntof
                           lossesarere_quiredunderChapters
                                                   109A,ll0,1l0A,andtl3AofTitle]Sforoffensescommittedonorafter
Septembtr13,1994,butbeforeApril 23. 1996
AO 245U   Case
           ( R e v .0 92:10-cr-20057-PKH
                       / 0 8 )J u d g n t c nitn u C r i n r i n a l( l a s e Document 173    Filed 07/20/11       Page 6 of 6 PageID #: 496
           S h e e t6 - * S c h e d u l eo f P a v m e n t s

                                                                                                                       Judgment-   Page _;[_   ol'   6
DEFENDANT:                           JOHNBULLINCTON
CASENUMBER:                          2:I 0CR20057-002

                                                                        SCHEDULEOF PAYMENTS

Havingassessed
            thedefendant's
                       abilityto pay,payment
                                          of thetotalcriminalmonetary
                                                                    penalties
                                                                            aredueasfollows:

A    X     Lumpsumpayment
                       of $                                 2,100.00         due immediately,balancedue

           n        not laterthan                                                 ,or
           X        in accordance                       n      C,   n   D,   I       E, or    {     F below;or

B t r Payment               (maybecombined
           to beginimmediately           with                                                I C,       I D, or   I F below);or
c t r Paymentin equal                                (e.g.,weekly,monthly,quarterly)
                                                                                  installments of $                  over a periodof
                                  (e.g.,monthsor years),
                                                      to commence             (e.g.,30 or 60 days)afterthedateof thisjudgment; or

D    !     Payment
                in equal               (e,g,,weekly,rnonthly,
                                                           quarterly)
                                                                    installmentsof $                over a periodof
                    (e.g.,monthsor years),
                                        to commence           _ (e.g.,
                                                                     30 or 60 days)    release
                                                                                   after     fiom imprisonment  to a
           term ofsupervision;or

     n     Paymentduringthe term of supervised  releasewill commencewithin              (e.g.,30or 60 days)afterreleasefrom
           imprisonment.The court will set the paymentplan basedon an assessment
                                                                              of the defendant'sability to pay at that time; or

           Specialinstructionsregardirrgthe paymentof criminal monetflrypenalties:

           If not paidirnmediately,
                                  anv unpaidfinancialpenaltvirnposed  shallbe naiddurinsthe neriodof incarceration
                                                                                                                 at a rateof not less
           than$25.00quarterly,-or t0gzo                 quirterlyearnings"
                                        cil'thedefendant's                 wliicheveris"sreat'er.
                                                                                               After incarceration.anv unpaidfinancial
           penaltyshallbecomea specialconditionof supervised         anilmavbe paidininonthlv installments
                                                               release                                     of not lesi thah l0% ofthe
           ilefendant'snetmonthly'ho.usehold  income,.but
                                                        in no caselessthan$f00.0'0permonth,rriiththe entirebalanceto be paidin full one
           monthprior to the termlnationof supervisedrelease.


Unlessthecoufihasexpressly orderedotherwise.if this iudernc'nt
                                                            irrrDoses
                                                                   imprisonrnent.    of crirninalmonetan/nenalties
                                                                               Davment                           is duedurins
imprisonm.ent.
             _AIl criminal monetarypenalties,exc.iptIhosc paymentsmade throughtlrc FederalBureauof Priicins'InmateIrinancial
             Program,are madeto the'clerkof the court.
Re-sponsibility

The defendantshallreceivecreditfor all paymentspreviouslymadetowardany criminalmonetarypenaltiesimposed.




!    Jointand Several

     DefendantandCo-Defendant   Namesand CaseNumbers(includingdefendantnumber),Total Amount,Jointand SeveralAmount,
     and correspondingpayee,if appropriate.




X    Thedef'endant
                shallpaythecostof prosecution.

il   Thedefendant
               shallpaythefollowingcourtcost(s):

tr   Thedefendant
               shallforfeitthedefendant's
                                       interest
                                             in thefollowingpropenyto theUnitedStates:




P_ayments  shallbe_applied
                         in the follow.ingorder:(l) assessrnent,
                                                               (2) restitution                               (4) fineprincipal,
                                                                             principal,(3) restitutioninterest,
(5) fine interest,
                 (6) cbmmunityrestitution-,
                                          (7) perialties,
                                                       and(8) cbdts,includingcostbf proiecutionandcourtioiti.
